
72 So.3d 725 (2010)
Jesse PETTAWAY Jr.
v.
STATE of Alabama.
CR-09-1650.
Court of Criminal Appeals of Alabama.
December 17, 2010.
Rehearing Denied January 28, 2011.
Certiorari Denied April 8, 2011 Alabama Supreme Court 1100568.
Jesse Pettaway, Jr., pro se.
Troy King, atty. gen., and P. David Bjurberg, asst. atty. gen., for appellee.
WINDOM, Judge.
AFFIRMED BY UNPUBLISHED MEMORANDUM.
WELCH and MAIN, JJ., concur. KELLUM, J., concurs specially, with opinion.
KELLUM, Judge, concurring specially.
I write specially to note that this action appears to be Jesse Pettaway's ninth Rule 32, Ala. R.Crim. P., petition challenging his 1981 conviction for first-degree rape and his resulting sentence of life in prison. I believe that allowing Pettaway to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir.1986), to prevent future frivolous litigation on the part of Pettaway and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim. App.2009).
